Case 2:20-cv-10612-DSF-AFM Document 29 Filed 07/14/21 Page 1 of 3 Page ID #:227



    1   GARCIA RAINEY BLANK & BOWERBANK LLP
    2   A Limited Liability Partnership
        JEFFREY M. BLANK, Cal. Bar No. 217522
    3   jblank@garciarainey.com
    4   NORMA V. GARCIA, Cal. Bar No. 223512
    5   ngarciaguillen@garciarainey.com
        695 Town Center Drive, Suite 700
    6   Costa Mesa, California 92626-1993
    7   Telephone: 714.382.7000
        Facsimile: 714.784.0031
    8   Attorneys for Plaintiff NOODLE TIME, INC.
    9
        Jordan Susman, Esq. (SBN 246116)
   10
        Margo Arnold, Esq. (SBN 278288)
   11   NOLAN HEIMANN LLP
   12   16133 Ventura Blvd. Ste. 820
        Encino, California 91436
   13   Telephone: (818) 574-5710
   14   Facsimile: (818) 574-5689
        E-mail: jsusman@nolanheimann.com
   15
        marnold@nolanheimann.com
   16   Attorneys for Defendant BENIHIBACHI
   17
                          UNITED STATES DISTRICT COURT
   18                    CENTRAL DISTRICT OF CALIFORNIA
   19
        NOODLE TIME, INC., a Florida           )   Case No. 2:20-CV-10612
   20   corporation,                           )
   21                                          )
                             Plaintiff,        )
   22
                                               )   STIPULATED NOTICE OF
   23       vs.                                )   SETTLEMENT AND DISMISSAL
   24                                          )
                                               )
   25   BENIHIBACHI, a California corporation. )   Judge: Hon. Dale S. Fischer
   26                                          )
                             Defendant.        )
   27
                                               )
   28                                          )


                                            -1-
                               Noddle Time Inc. v. Benihibachi, Case No. 2:20-cv-10612
                                      STIPUTED NOTICE OF SETTLEMENT AND DISMISSAL
Case 2:20-cv-10612-DSF-AFM Document 29 Filed 07/14/21 Page 2 of 3 Page ID #:228



    1         Plaintiff Noodle Time, Inc. (“Plaintiff”) and Defendant Benihibachi
    2
        (“Defendant”) (collectively the “Parties”), by and through their undersigned counsel,
    3
    4   having settled this action, hereby agree to dismiss this case with prejudice pursuant
    5
        to Fed. R. Civ. P. 41(a)(1)(A)(ii). The Parties further stipulate that each party shall
    6
    7   bear its own costs and attorneys’ fees. The Parties further agree and request that this
    8   Court shall retain jurisdiction for three years to enforce any and all portions of the
    9
        Settlement Agreement in the event of default or breach.
   10
   11         The effectiveness of this stipulation of dismissal is explicitly conditioned on
   12
        the Court’s entry of an order retaining jurisdiction for three years.
   13
   14
   15
   16
        Dated: July 14, 2021                    Respectfully Submitted,
   17
   18
   19
                                                /s/ Norma V. García
   20
   21
                                                GARCIA RAINEY BLANK &
   22
                                                BOWERBANK LLP
   23                                           A Limited Liability Partnership
   24                                           JEFFREY M. BLANK
                                                jblank@garciarainey.com
   25                                           NORMA V. GARCIA,
   26                                           ngarciaguillen@garciarainey.com
                                                695 Town Center Drive, Suite 700
   27                                           Costa Mesa, California 92626-1993
   28                                           Telephone: 714.382.7000
                                               -1-
                                  Noodle Time Inc. v. Benihibachi, Case No. 2:20-cv-10612
                                                                 JOINT RULE 26(F) REPORT
Case 2:20-cv-10612-DSF-AFM Document 29 Filed 07/14/21 Page 3 of 3 Page ID #:229



    1                                      Facsimile: 714.784.0031
    2                                      Attorneys for Plaintiff
                                           NOODLE TIME, INC.
    3
    4
        Dated: July 14, 2021               NOLAN HEIMANN, LLP
    5
    6                                      By: ______/s/ Jordan Susman________
    7                                            Jordan Susman
    8                                            Attorneys for Defendant
                                                 Benihibachi
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                            -2-
                               Noodle Time Inc. v. Benihibachi, Case No. 2:20-cv-10612
                                                              JOINT RULE 26(F) REPORT
